               Case 3:16-cv-00705-JWD-EWD                               Document 11-2                01/06/17 Page 1 of 8


 AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises
                                                                                                                in a   Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                           Middle District of Louisiana
                           Brandon Cavin
                               Plaintiff
                                   v.                                                  Civil Action No. 16-705
                 Westport Linen Services, LLC
                              Defendant

                        SUBPOENA TO PRODUCE DOCUMENTS,INFORMATION,OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
        ADP, LLC through its registered agent, CT Corporation System, 3867 Plaza Tower Drive, Baton Rouge, LA 70816
 To:

                                                      (Nome ofperson to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See Attached Exhibit A

 Place:                                                                                 Date and Time:
          Jackson+Jackson, 201 St. Charles Avenue, Ste 2500,
          New Orleans, LA 70170; mjackson@Jackson-law.net
                                                                                       January 10, 2017 at 10:00 a.m.

     ~ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached —Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        12/13/2016

                                  CLERK OF COURT
                                                                                          OR
                                                                                                                Mary Bubbett Jackson
                                           Signature ofClerk or Depz~ty Clerk                                          Attorney's signature

The name, address, e-mail address, and telephone number of the attorney representing (name ofparry)                                    Brandon Cavin
                                                                       who issues or requests this subpoena, are:
Mary Bubbett Jackson, 201 St. Charels Ave., Ste 2500, New Orleans, LA 70170;(504) 599-5953;
mjackson @Jackson-law.net

                                 Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served o                                              hom
it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                EXHIBIT
                                                                                                                   d
                                                                                                                                        Obe
              Case 3:16-cv-00705-JWD-EWD                               Document 11-2                01/06/17 Page 2 of 8


AO 88B (Rev. 12/13) Subpoena to Produce Documents, Infonnation, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)


Civil Action No. 16-705

                                                  PROOF OF SERVICE
                    (This section should not befiled with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name ojindividual and rule, ifany)
on (date)


         Q I served the subpoena by delivering a copy to the named person as follows:


                                                                                          on (date)                                   ; or

         ~ I returned the subpoena unexecuted because:



         Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
         tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of



My fees are $                                    for travel and $                              for services, for a total of$                 0.00


         I declare under penalty of perjury that this information is true.


Date:
                                                                                                  Server's signature



                                                                                               Printed name and title




                                                                                                   Server's address

Additional information regarding attempted service, etc.:
                Case 3:16-cv-00705-JWD-EWD                                 Document 11-2                 01/06/17 Page 3 of 8


 AO 88B (Rev, 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil
                                                                                                                           Action(Page 3)

                               Federal Rule of Civil Procedure 45(c),(d),(e), and (g)(Effective 12/1/13)
 (c)Place of Compliance.                                                                 (ii) disclosing an unretained expert's opinion or information that does
                                                                                    not describe specific occurrences in dispute and results from the expert's
  (1)For a Trial, Hearing, or Deposition. A subpoena may command a                  study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                    (C)Specifying Conditions as an Alternative. In the circumstances
   (A)within 100 miles of where the person resides, is employed, or                 described in Rule 45(d)(3)(B), the court may,instead of quashing or
 regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly         conditions if the serving party:
 transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i)is a party or a party's officer; or                                        otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
 expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2)For Other Discovery. A subpoena may command:
  (A)production of documents, electronically stored information, or                  (1)Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is         procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
  (B)inspection of premises at the premises to be inspected.                          (A)Documents. A person responding to a subpoena to produce documents
                                                                                    must produce them as they are kept in the ordinary course of business or
(d)Protecting a Person Subject to a Subpoena; Enforcement.                          must organize and label them to correspond to the categories in the demand.
                                                                                      (B)Formfor Producing Electronically Stored Information Not Specified.
 (1)Avoiding Undue Burden or Expense;Sanctions. A parry or attorney                If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C)Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D)Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
  (A)Appearance Not Required. A person commanded to produce                        of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because ofundue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
  (B) Objections. A person commanded to produce documents or tangible              26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protection.
sampling any or all ofthe materials or to inspecting the premises—or to            (A)Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,          (i) expressly make the claim; and
the following rules apply:                                                            (u) describe the nature ofthe withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                         (B)Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information ofthe claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena                                             information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
    (iv)subjects a person to undue burden.                                        (g) Contempt.
 (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may,on          motion is transfersed, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
     (i) disclosing a trade secret or other confidential researcU,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                 EXHIBIT A



  1.   All documents, data or other information provided to you by Westport Linen
       Services, LLC or their agents or predecessors regarding hours worked by
       employees from October 2013 through the present.

  2.   All documents, data or other information including, but not limited to data
       entered by employees, raw data provided to you, edited data provided to you,
       requests to alter hours and/or any other contemporaneous original or edited
       records regarding the amount of time Westport Linen Services, LLC's or their
       agents or predecessors employees worked from October 2013 to the present.

  3.   All documents, data or other information regarding the amount Westport
       Linen Services, LLC's or their agents or predecessors paid to employees from
       October 2013 through the present for work performed for them their agents.

  4.   All documents, data or other information regarding how the amount paid to
       employees from Westport Linen Services, LLC or their agents or predecessors
       was calculated, including any edits or references to edits of the amount that
       should be paid to their employees from October 2013 to the present.

  5.   All contracts between you and Westport Linen Services, LLC or their agents
       or predecessors for the time period from October 2013 through the present.

  6.   Any initial documents, information or data provided to you by Westport Linen
       Services, LLC or their agents or predecessors to begin service or continue
       service with you.
               Case 3:16-cv-00705-JWD-EWD                               Document 11-2                 01/06/17 Page 5 of 8


 AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action



                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                           Middle District of Louisiana
                           Brandon Cavin
                               Plaintiff
                                   v.                                                  Civil Action No. 16-705
                 Westport Linen Services, LLC
                              Defendant

                        SUBPOENA TO PRODUCE DOCUMENTS,INFORMATION,OR OBJECTS
                          OR TO PERMIT INSPECTION OF PI2~MISES IN A CIVIL ACTION
           Paylocity Corporation through its registered agent, CT Corporation System, 3867 Plaza Tower Drive, Baton
 To:
                                                         Rouge, LA 70816
                                                       (Name ofperson to whom this subpoena is directed)

     E~ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See Attached Exhibit A

 Place:                                                                                 Date and Time:
          Jackson+Jackson, 201 St. Charles Avenue, Ste 2500,
          New Orleans, LA 70170; mjackson@Jackson-law.net
                                                                                        January 10, 2017 at 10:00 a.m.

     f~ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached —Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        12/13/2016

                                  CLERK OF COURT
                                                                                           OR
                                                                                                                 Mary Bubbett Jackson
                                           Signature ofClerk or Deputy Clerk                                         Attorney's signature


The name, address, e-mail address, and telephone number of the attorney representing (name ojparry)                                  Brandon Cavin
                                                                       who issues or requests this subpoena, are:
Mary Bubbett Jackson, 201 St. Charels Ave., Ste 2500, New Orleans, LA 70170;(504) 599-5953;
mjackson@Jackson-law.net

                                 Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
               Case 3:16-cv-00705-JWD-EWD                                Document 11-2                 01/06/17 Page 6 of 8


 AO 888 (Rev. l2/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civi]
                                                                                                                           Action (Page   2)

Civil Action No. '16-705

                                                   PROOF OF SERVICE
                     (This section should not befiled with the court unless required by Fed. R. Civ. P. 45.)

           I received this subpoena for (name ofindividaral and rule, ifany)
On (date)


          ~ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (dare)                                      ; or

          ~ I returned the subpoena unexecuted because:



          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of



My fees are $                                     for travel and $                              for services, for a total of$                    0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server's signature



                                                                                                Printed name and title




                                                                                                   Server's address

Additional information regarding attempted service, etc.:
                Case 3:16-cv-00705-JWD-EWD                                  Document 11-2                01/06/17 Page 7 of 8


 AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection ofPremises in a Civil Action(Page 3)

                               Federal Rule of Civil Procedure 45(c),(d),(e), and (g)(Effective 12/1/13)
(c)Place of Compliance.                                                                  (ii) disclosing an unretained expert's opinion or information that does
                                                                                    not describe specific occurrences in dispute and results from the expert's
  (1)For a Trial, Hearing, or Deposition. A subpoena may command a                  study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                    (C)Specifying Conditions as an Alternative. In the circumstances
   (A)within 100 miles of where the person resides, is employed, or                 described in Rule 45(d)(3)(B), the court may,instead ofquashing or
 regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly         conditions if the serving party:
 transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i)is a party or a party's officer; or                                        otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (u)ensures that the subpoenaed person will be reasonably compensated.
 expense.
                                                                                   (e)Duties in Responding to a Subpoena.
 (2)For Other Discovery. A subpoena may command:
  (A)production of documents, electronically stored information, or                  (1)Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is         procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
  (B)inspection of premises at the premises to be inspected.                          (A)Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d)Protecting a Person Subject to a Subpoena; Enforcement.                         must organize and label them to correspond to the categories in the demand.
                                                                                      (B)Formfor Producing Electronically Stored Information Not Specified.
 (1)Avoiding Undue Burden or Expense;Sanctions. A party or attorney                If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C)Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D)Inaccessible Electronically StoredInformation. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2)Command to Produce Materials or PermitInspection.                              from sources that the person identifies as not reasonably accessible because
  (A)Appearance Not Required. A person commanded to produce                        of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
  (B)Objections. A person commanded to produce documents or tangible               26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protection.
sampling any or all ofthe materials or to inspecting the premises—or to            (A)Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier ofthe time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,          (i) expressly make the claim; and
the following rules apply:                                                            (ii) describe the nature ofthe withheld documents, communications, or
     (t) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling producrion or inspection.                                         (B)Information Produced. Ifinformation produced in response to a
     (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
  (A) When Regzrired. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a deterrnination ofthe claim. The person who
specified in Rule 45(e);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
    (1v)subjects a person to undue burden.                                        (g) Contempt.
 (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
     (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 3:16-cv-00705-JWD-EWD         Document 11-2       01/06/17 Page 8 of 8




                                 EXHIBIT A



  1.   All documents, data or other information provided to you by Westport Linen
       Services, LLC or their agents or predecessors regarding hours worked by
       employees from October 2013 through the present.

  2.   All documents, data or other information including, but not limited to data
       entered by employees, raw data provided to you, edited data provided to you,
       requests to alter hours and/or any other contemporaneous original or edited
       records regarding the amount of time Westport Linen Services, LLC's or their
       agents or predecessors employees worked from October 2013 to the present.

  3.   All documents, data or other information regarding the amount Westport
       Linen Services, LLC's or their agents or predecessors paid to employees from
       October 2013 through the present for work performed for them their agents.

  4.   All documents, data or other information regarding how the amount paid to
       employees from Westport Linen Services, LLC or their agents or predecessors
       was calculated, including any edits or references to edits of the amount that
       should be paid to their employees from October 2013 to the present.

       All contracts between you and Westport Linen Services, LLC or their agents
       or predecessors for the time period from October 2013 through the present.

  6.   Any initial documents, information or data provided to you by Westport Linen
       Services, LLC or their agents or predecessors to begin service or continue
       service with you.
